         Case 3:18-mj-00139-TWD Document 7 Filed 03/19/18 Page 1 of 3


UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
__________________________________________

UNITED STATES OF AMERICA
          vs.                                                        3:18-MJ-00139-TWD
MAXIMILIEN R. REYNOLDS,
                                 Defendant.
__________________________________________


APPEARANCES:                                           OF COUNSEL:

FOR THE GOVERNMENT

HON. GRANT C. JAQUITH, ESQ.                     RICHARD SOUTHWICK, ESQ.
Acting United States Attorney                   Assistant U.S. Attorney
Office of the United States Attorney
100 South Clinton Street
PO Box 7198
Syracuse, NY 13261

FOR THE DEFENDANT

SCHLATHER, STUMBAR, PARKS & SALK, LLP                  RAYMOND M. SCHLATHER, ESQ.
200 East Buffalo Street
PO Box 353
Ithaca, NY 14851-0353

THÉRÈSE WILEY DANCKS, United States Magistrate Judge

                                          ORDER

       Defendant is charged by criminal complaint with Possession of an Unregistered

Destructive Device/Silencer, False Statement in Acquisition of a Firearm, and False

Statement in Required Firearm Record, in violation of 26 U.S.C. § 5861(d), 18 U.S.C. §

922(a)(6) and 2(a) and 2(b), and 18 U.S.C. § 924(a)(1)(A) and 2(a) and 2(b). At Defendant’s

initial appearance on March 16, 2018, the Government moved for his detention, pursuant to

18 U.S.C. § 3142(f), and Defendant waived an immediate detention, reserving rights, and also

waived a preliminary hearing, reserving rights. (Text Minute Entry 3/16/2018.) Also at the

initial appearance, Defendant’s counsel requested that the Court order a mental health
            Case 3:18-mj-00139-TWD Document 7 Filed 03/19/18 Page 2 of 3


evaluation in order to assess the Defendant’s ability to understand the proceedings against him

and to assist his counsel in defending against the pending charges. According to Defendant’s

counsel, Defendant was in voluntary in-patient psychiatric treatment at the time of his arrest,

and his diagnoses include forms of schizophrenia and bipolar disorders. The Government

indicated it had no objection to the Court ordering a competency examination.

          Based upon the request and statements of Defendant’s counsel, the Government’s

consent to the examination, and my observations during the hearing on March 16, 2018, I find

the existence of a substantial question as to whether Defendant is able to fully understand the

nature and consequences of the proceedings against him and to properly assist in his defense.

          WHEREFORE, it is hereby
          ORDERED, that a psychiatric or psychological examination of Defendant shall be
conducted, pursuant to 18 U.S.C. § 4241(b), and a report of that determination shall be filed
with the Court and served upon counsel for both parties in accordance with 18 U.S.C. §
4247(b) and (c); and it is further
          ORDERED, that the Defendant is committed to the custody of the Attorney General
for a reasonable period, not to exceed thirty days, for such a psychiatric or psychological
examination to determine his current mental competence, pursuant to 18 U.S.C. § 4241 and
4247, to be conducted in a suitable facility, as designated by the Bureau of Prisons (“BOP”);
however, the Court requests that facility be FMC Devens, in Ayer, Massachusetts; and it is
further
          ORDERED, that the United States Marshal’s service shall transport Defendant to the
institution so designated by the BOP for the required examination; and it is further
          ORDERED, that should thirty days be insufficient to complete the ordered
examination, and/or the examination is not completed in thirty days, counsel should submit a
request to the Court pursuant to 18 U.S.C. § 3161(h)(1)(A), to extend the exclusion of time
from the date of the request up until and including the conclusion of any hearing to determine
the mental capacity of Defendant for the purposes of calculating when trial must begin under

                                                2
         Case 3:18-mj-00139-TWD Document 7 Filed 03/19/18 Page 3 of 3


the governing speedy trial provisions, including 18 U.S.C. §§ 3161 et seq.
Dated:       March 16, 2018
             Syracuse, NY




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